Summary - MyCase                                                         Page 1 of 4
  Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 1 of 46 PageID #: 4


                           This is not the official court record. Official records of court proceedings may only be
                           obtained directly from the court maintaining a particular record.


  Amanda Brown v. Costco Wholesale Corporation
  Case Number                   49D06-2101-CT-002028

  Court                         Marion Superior Court 6

  Type                          CT - Civil Tort

  Filed                         01/20/2021

  Status                        01/20/2021 , Pending (active)


  Parties to the Case
  Defendant Costco Wholesale Corporation
      Address                 c/o CT Corporation System
                              334 North Senate Avenue
                              Indianapolis, IN 46204
      Attorney                Leslie B Pollie
                              #2571649, Lead, Retained
                              Kopka Pinkus Dolin PC
                              550 Congressional Blvd., Suite 310
                              Carmel, IN 46032
                              317-818-1360(W)

      Attorney                Jessica Nicole Hamilton
                              #3426871, Retained
                              550 Congressional Blvd.
                              Suite 310
                              Carmel, IN 46032
                              317-818-1360(W)

  Plaintiff     Brown, Amanda
      Attorney                Phillip Dale Olsson
                              #2941653, Retained
                              KEN NUNN LAW OFFICE
                              104 South Franklin Road
                              Bloomington, IN 47404
                              812-332-9451(W)


  Chronological Case Summary
  01/20/2021 Case Opened as a New Filing


  01/20/2021       Complaint/Equivalent Pleading Filed
               Complaint for Damages

               Filed By:              Brown, Amanda
               File Stamp:            01/20/2021




https://public.courts.in.gov/mycase/                                                                                  10/18/2021
Summary - MyCase                                                         Page 2 of 4
  Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 2 of 46 PageID #: 5


  01/20/2021       Appearance Filed
               Appearance

               For Party:           Brown, Amanda
               File Stamp:          01/20/2021

  01/20/2021       Subpoena/Summons Filed
               Summons to Costco

               Filed By:            Brown, Amanda
               File Stamp:          01/20/2021

  02/03/2021       Service Returned Served (E-Filing)
               Return of Service for Costco

               Filed By:            Brown, Amanda
               File Stamp:          02/02/2021

  02/03/2021       Appearance Filed
               Appearance by Leslie Pollie and Jess Hamilton for Costco

               For Party:           Costco Wholesale Corporation
               File Stamp:          02/03/2021

  02/03/2021       Motion for Enlargement of Time Filed
               Costco's Notice of Automatic Enlargement of Time

               Filed By:            Costco Wholesale Corporation
               File Stamp:          02/03/2021

  02/03/2021       Order Granting Motion for Enlargement of Time
               Judicial Officer:    Eisgruber, Kurt
               Order Signed:        02/03/2021

  02/04/2021 Automated ENotice Issued to Parties
               Order Granting Motion for Enlargement of Time ---- 2/3/2021 : Jessica Nicole Hamilton;Leslie B Pollie;Phillip Dale
               Olsson


  03/19/2021       Answer to a Complaint Filed
               Costco Answer to Plaintiff's Complaint

               Filed By:            Costco Wholesale Corporation
               File Stamp:          03/19/2021

  07/01/2021       Witness and/or Exhibit List Filed
               Plaintiff's Preliminary Witnesses and Exhibits List

               Filed By:            Brown, Amanda
               File Stamp:          06/30/2021

  07/12/2021       Case Management Plan
               telephonic hearing set

               Judicial Officer:    Eisgruber, Kurt
               Order Signed:        07/12/2021

  07/12/2021 Hearing Scheduling Activity
               Telephonic Attorney Conference scheduled for 09/16/2021 at 11:30 AM.




https://public.courts.in.gov/mycase/                                                                                        10/18/2021
Summary - MyCase                                                         Page 3 of 4
  Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 3 of 46 PageID #: 6


  07/13/2021 Automated ENotice Issued to Parties
               Case Management Plan ---- 7/12/2021 : Jessica Nicole Hamilton;Leslie B Pollie;Phillip Dale Olsson Hearing Scheduling
               Activity ---- 7/12/2021 : Jessica Nicole Hamilton;Leslie B Pollie;Phillip Dale Olsson


  08/10/2021       Motion Filed
               Motion for Agreed Protective Order

               Filed By:             Costco Wholesale Corporation
               File Stamp:           08/10/2021

  08/10/2021       Order Issued
               Stipulation and Protective Order

               Judicial Officer:     Eisgruber, Kurt
               Order Signed:         08/10/2021

  08/11/2021 Automated ENotice Issued to Parties
               Order Issued ---- 8/10/2021 : Jessica Nicole Hamilton;Leslie B Pollie;Phillip Dale Olsson


  09/16/2021 Telephonic Attorney Conference
               Session:              09/16/2021 11:30 AM, Judicial Officer: Eisgruber, Kurt
               Result:               Commenced and concluded

  09/16/2021 Hearing Journal Entry
               Telephonic hearing held via conference call on Judge's chamber.

               Judicial Officer:     Eisgruber, Kurt
               Hearing Date:         09/16/2021

  09/16/2021 Hearing Journal Entry
               Parties agree to dates.

               Judicial Officer:     Eisgruber, Kurt
               Hearing Date:         09/16/2021

  09/16/2021 Hearing Journal Entry
               Motions in Limine, Joint Issue Instruction and proposed instructions to be efiled 7 days prior to Final Pre-Trial
               Conference.

               Judicial Officer:     Eisgruber, Kurt
               Hearing Date:         09/16/2021

  09/16/2021 Hearing Scheduling Activity
               Jury Trial scheduled for 05/16/2023 at 9:00 AM.


  09/16/2021 Hearing Scheduling Activity
               Final PreTrial Conference scheduled for 05/01/2023 at 1:30 PM.


  09/17/2021 Automated ENotice Issued to Parties
               Hearing Scheduling Activity ---- 9/16/2021 : Jessica Nicole Hamilton;Leslie B Pollie;Phillip Dale Olsson Hearing
               Scheduling Activity ---- 9/16/2021 : Jessica Nicole Hamilton;Leslie B Pollie;Phillip Dale Olsson


  05/01/2023 Final PreTrial Conference
               Session:              05/01/2023 1:30 PM, Judicial Officer: Eisgruber, Kurt
               Comment:              jury trial 5/16/23

  05/16/2023 Jury Trial
               Session:              05/16/2023 9:00 AM, Judicial Officer: Eisgruber, Kurt
               Comment:              2 days




https://public.courts.in.gov/mycase/                                                                                          10/18/2021
Summary - MyCase                                                         Page 4 of 4
  Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 4 of 46 PageID #: 7


  Financial Information
  * Financial Balances reflected are current representations of transactions processed by the Clerk’s Office. Please note that any
    balance due does not reflect interest that has accrued – if applicable – since the last payment. For questions/concerns regarding
    balances shown, please contact the Clerk’s Office.

  Brown, Amanda
  Plaintiff

              Balance Due (as of 10/18/2021)
              0.00

              Charge Summary
              Description                                                          Amount            Credit           Payment
              Court Costs and Filing Fees                                          157.00            0.00             157.00

              Transaction Summary
              Date               Description                                       Amount
              01/20/2021         Transaction Assessment                            157.00
              01/20/2021         Electronic Payment                                (157.00)



                           This is not the official court record. Official records of court proceedings may only be
                           obtained directly from the court maintaining a particular record.




https://public.courts.in.gov/mycase/                                                                                         10/18/2021
 Case 1:21-cv-02668-SEB-MJD Document  1-1
                            49D06-21 01    Filed 10/18/21 Page 5 of 46 PageID
                                        -CT-002028                             #:1/20/2021
                                                                           Filed: 8                                                  1:20 PM
                                                                                                                                        Clerk
                                                      Marion Superior Court 6                                          Marion County, Indiana




STATE OF INDIANA                                )                 IN      THE MARION SUPERIOR COURT
                                                    SS:
COUNTY OF MARION                                g                 CAUSE NO.

AMANDA BROWN
        VS.

COSTCO WHOLESALE CORPORATION

                                        COMPLAINT FOR DAMAGES

        Comes now the plaintiff, Amanda Brown, by counsel, Ken Nunn Law Ofﬁce, and                                       for
cause 0f action against the defendant, Costco Wholesale Corporation, alleges and says:


        1.         That on or about September             6,   2020, the    plaintiff,    Amanda Brown, was        a
customer     at   Costco located       at   9010 Michigan Road         in Indianapolis,         Marion County, Indiana.

        2.         That on or about September             6,   2020, the    plaintiff,    While exercising due care and
caution for her      own   safety,    was checking out         at said store    When      suddenly, Without warning, the
plastic partition constructed          around the cashier collapsed onto             plaintiff,     causing her t0 suffer
serious injuries.


        3.         That   it   was   the duty of the defendant to use ordinary care and diligence to keep
and maintain the said          store in a condition reasonably safe for             its   intended uses and free from          all

defects and conditions          Which would render the           store dangerous          and unsafe for   plaintiff, 0r

present an unreasonable risk 0f harm to plaintiff in her lawful use 0f same.


        4.         That   it   was   the duty of the defendant t0 exercise reasonable care to protect
plaintiff,   by inspection and other afﬁrmative acts, from the danger of reasonably foreseeable
injury occurring    from reasonably foreseeable use 0f said store.


        5.         That   it   was   the duty 0f the defendant t0 have available sufﬁcient personnel and
equipment     to properly inspect           and maintain the aforesaid          store in a condition reasonably safe
for plaintiff     and free from defects and conditions rendering the                     store unsafe.


        6.         That   it   was   the duty of the defendant t0          warn   plaintiff 0f the     dangerous and
unsafe condition existing in said store.


        7.         That the defendant knew 0r should have                   known 0f the unreasonable          risk 0f
danger t0 the plaintiff but failed either t0 discover                it   0r t0 correct    it   after discovery.
 Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 6 of 46 PageID #: 9



                                                            -2-


         8. That the permanent injuries 0f plaintiff were caused by the negligence of the
defendant Who failed t0 utilize reasonable care in the inspection and maintenance 0f said store.


         9.     That the aforesaid acts 0f negligence 0n the part 0f the defendant were the
proximate cause 0f the injuries sustained by the              plaintiff.



          10.   That the plaintiff has incurred medical expenses,                   lost   wages, and other special
expenses, and Will incur future medical expenses, lost wages, and other special expenses, as a
direct   and proximate   result   0f defendant's negligence.


         WHEREFORE, the plaintiff demands judgment against the                             defendant for permanent
injuries in a reasonable   amount       t0   be determined        at the trial   of this cause, for medical expenses,
lost   wages, and other special expenses, for future medical expenses,                      lost   wages, and other
special expenses, court costs,      and      all   other proper relief in the premises.


                                             KEN NUNN LAW OFFICE


                                             BY:       s/Phillip Olsson
                                                       Phillip Olsson,     #29416-53
                                                       KEN NUNN LAW OFFICE
                                                       104 South Franklin Road
                                                       Bloomington, IN 47404
                                                       Phone: (812) 332-9451
                                                       Fax: (812) 331-5321
                                                       E-mail: philo@kennunn.com




                                  REQUEST FOR TRIAL BY JURY

         Comes now the     plaintiff,   by counsel, Ken Nunn Law Ofﬁce, and requests                      that this


matter be tried by jury pursuant t0 Trial Rule 38.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 7 of 46 PageID #: 10



                                              -3-


                                   KEN NUNN LAW OFFICE


                                   BY:   s/ Phillip Olsson
                                         Phillip Olsson,   #29416-53
                                         KEN NUNN LAW OFFICE
                                         104 South Franklin Road
                                         Bloomington, IN 47404
                                         Phone: (812) 332-9451
                                         Fax: (812) 331-5321
                                         E-mail:    thlo@kennunn.com




Phillip Olsson,   #29416-53
Ken Nunn Law Ofﬁce
104 South Franklin Road
Bloomington, IN 47404
Telephone: 8 1 2-332-9451
Fax Number:       8 12-33 1-5321
Attorney for Plaintiff
Case 1:21-cv-02668-SEB-MJD Document 1-1-CT-002028
                           49D06-21 01   Filed 10/18/21 Page 8 of 46 PageID  #: 1/20/2021
                                                                          Filed: 11                              1:20 PM
                                                                                                                    Clerk
                                                  Marion Superior Court 6                          Marion County, Indiana




                                          APPEARANCE FORM (CIVIL)
                                                        Initiating Party




              CAUSE NO:

   1.         Name   of ﬁrst   initiating party                Amanda Brown
                                                               12873 Tradd Street    #3A
                                                               Carmel, IN 46032



   2.         Telephone 0f pro se      initiating party        NA

   3.         Attorney information (as applicable              Phillip   Olsson #29416-53
              for service   0f process)                        Ken Nunn Law Ofﬁce
                                                               104 South Franklin Road
                                                               Bloomington, IN 47404
                                                               PHONE:           812 332-9451
                                                               FAX:             812 331-5321
                                                               Email: philo@kennunn.com



   4.         Case type requested                              CT   (Civil Tort)



   5.         Will accept   FAX service                        YES

   6.         Are there   related cases                        NO

   7.         Additional information required by
              State or Local Rules



   Continuation 0f Item        1   (Names of initiating        NAME:
   parties)                                                    NAME:

   Continuation of Item 3 (Attorney information
   as applicable for service 0f process)



                                                           s/Phillip   Olsson
                                                          Attorney—at-Law
                                                          (Attorney information    shown above.)
    Case 1:21-cv-02668-SEB-MJD Document 1-1-CT-002028
                               49D06-21 O1   Filed 10/18/21 Page 9 of 46 PageID  #: 1/20/2021
                                                                              Filed: 12                                                                             1:20 PM
                                                                                                                                                                       Clerk
                                                                    Marion Superior Court 6                                                           Marion County, Indiana


                                       CIRCUIT/SUPERIOR COURTS FOR THE                       COUNTY OF MARION
                                                                    STATE OF INDMNA
                                         CITY COUNTY BUILDING, 200 E. WASHINGTON STREET
                                                  INDIANAPOLIS, INDIANA 46204
                                                               TELEPHONE          3 17   327-4740

Amanda Brown

                                               P1aintiff(s)


                        VS.                                                                No.

Costco Wholesale Corporation

                                               Defendant(s)
                                                                            SUMMONS
The State 0f Indiana t0 Defendant: Costco Wholesale Corporation, c/o                        CT Corporation System, 334 North                Senate Avenue,
Indianapolis, IN 46204

         You have been        sued by the person(s)        named     "plaintiff" in the court stated          above.

       The nature 0f the suit against you is stated in the complaint Which                    is   attached t0 this document.      It   also states the
demand which the plaintiff has made and wants from you.

         You must answer the complaint in writing, by you or your attorney, Within Twenty (20) days, commencing the day
afteryou receive this summons, or judgment will be entered against you for what the plaintiff has demanded. You have twenty-
three (23) days to answer if this summons was received by mail. Such Answer Must Be Made In Court.


         If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert                               it   in
your written answer.

        “20/2021                                                                                 LXI
                                                                                                       I’l-cﬂl (La..-   Iﬂ.   ETIELMu',    C.)
Date:
                                                                                CLERK, MARION CIRCUIT/SUPERIOR CéURTS

PHILLIP OLSSON, #29416-53
ATTORNEY FOR PLAINTIFF
KEN NUNN LAW OFFICE
104 FRANKLIN ROAD
BLOOMINGTON,       IN    47404
                                             ACKNOWLEDGMENT OF SERVICE 0F SUMMONS
         A copy of the above summons and a copy 0f the complaint attached thereto were received by me at
this        day of                       ,
                                             2021.


                                                                                           SIGNATURE OF DEFENDANT
PRAECIPE:      I   designate the following           mode 0f service   to   be used by the Clerk.

XX       By certiﬁed or registered mail              with return receipt to above address.

D        By   Sheriff delivering a        copy 0f summons and complaint personally to defendant or by leaving a copy of the summons
         and complaint        at his   dwelling house or usual place of abode with some person of suitable age and discretion residing
         therein.


D        By                            delivering a copy of summons and complaint personally to defendant 0r                    by leaving       a   copy of the
         summons and complaint             at his dwelling house 0r usual place 0f abode.


D        By   serving his agent as provided            by rule,   statute or valid agreement, to-wit:


                                                                   KEN NUNN LAW OFFICE

                                                                   BY:      s/ PHILLIP     OLSSON
                                                                     ATTORNEY FOR PLAINTIFF
     Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 10 of 46 PageID #: 13

CERTIFICATE OF MAILING:                       I   certify that     0n the   _ day 0f                         ,
                                                                                                                 2021,   I   mailed a copy 0f this summons and a copy
0f the complaint t0 each 0f the defendant(s) by (registered 0r certiﬁed mail requesting a return receipt signed by the addressee
only, addressed to each of said defendant(s) at the address(es) furnished by plaintiff.


          Dated         this   _ day 0f                   ,
                                                              2021.



                                                                                                           CLERK, MARION CIRCUIT/SUPERIOR COURTS

RETURN OF SERVICE OF SUMMONS BY MAIL:                                            Ihereby            certify that service             of summons With return receipt requested
was mailed 0n the           _ day 0f                          2021, and that a copy 0f the return 0f receipt was received by                                   me 0n the
          day 0f                             2021, Which copy          is   attached herewith.




                                                                                                           CLERK, MARION CIRCUIT/SUPERIOR COURTS

CERTIFICATE OF CLERK OF SUMMONS NOT ACCEPTED BY MAIL:                                                                        I   hereby certify that on the         _ day of
_, 2021, mailed a copy 0f this summons and a copy of the complaint t0 the defendant(s) by (registered 0r certiﬁed) mail, and
          I

the same was returned Without acceptance this day 0f               _2021, and I did deliver said summons and a copy 0f the
complaint to the Sheriff of MARION County, Indiana.


          Dated         this   _ day 0f                        2021.



                                                                                                           CLERK, MARION CIRCUIT/SUPERIOR COURTS

RETURN OF SUMMONS:                         This    summons came         t0   hand on the            _ day of                     ,
                                                                                                                                     2021, and      I   served the same on the      _ day
of        ,
               2 02 1   .




          1.                By mailing     a copy 0f the      summons and complaint personally t0                                            address


          2.                By delivering a copy 0f summons and complaint personally t0                                                                                     .




          3.                By leaving a copy 0f the summons and complaint at                                                                               th e dwelling   house 0r
                            usual place 0f abode of defendant:                                                                       (Nam e of Person) and by mailing by ﬁrst
                            class mail a   copy 0f the summons on the              _ day 0f                              ,
                                                                                                                             2021       t0                                      his last
                            known     address.
          4.                By   serving his agent as provided          by rule,    statute or valid             agreement           to-wit:


          5.                Defendant cannot be found in             my bailwick and summons was not served.

          And I now return this             writ this   _ day of                    ,
                                                                                        2021.



                                                                                                           SHERIFF           or      DEPUTY

RETURN ON SERVICE 0F SUMMONS:                                      Ihereby    certify that          I   have served the within summons:


          1.                By delivery 0n the      _ day 0f                            ,
                                                                                                2021 a copy 0f this summons and a copy 0f the complaint                            t0   each
                            0f the Within named defendant(s)                                                                                                          .




          2.                By leaving on the      _    day of
                                                                   a c opy 0f the
                                                                                            ,
                                                                                                2021
                                                                                        summons and
                                                                                                        for each   of the Within named defendant(s)
                                                                                                             a copy 0f the complaint at the respective dwelling
                                                               ,



                            house 0r usual place 0f abode with                                                  a p erson 0f suitable age and discretion residing
                            therein   Whose usual     duties 0r activities include                 prompt communication of such information to the person
                            served.
          3.                                                                                                                                   an d by mailing a copy 0f the
                            summons Without the complaint t0                                                                                   at

                                  the last known address of defendant(s).
          A11 done in          MARION County, Indiana.
Fees: $
                                                                                                 SHERIFF     0r    DEPUTY
      Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 11 of 46 PageID  #: 2/2/2021
                                                                                Filed: 14      4:50 PM
                                                                                                                     Clerk
                                                                                                    Marion County, Indiana




    Mailer: Ken Nunn Law Office

    Date Produced: 02/01/2021

    ConnectSuite Inc.:

    The following is the delivery information for Certified Mail™/RRE item number 9214 8901 9403 8330
    1977 00. Our records indicate that this item was delivered on 01/25/2021 at 10:20 a.m. in
    INDIANAPOLIS, IN 46204. The scanned image of the recipient information is provided below.

    Signature of Recipient :




    Address of Recipient :




    Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
    please contact your local post office or Postal Service representative.

    Sincerely,
    United States Postal Service

    The customer reference number shown below is not validated or endorsed by the United States Postal
    Service. It is solely for customer use.




    This USPS proof of delivery is linked to the customers mail piece information on file
    as shown below:
     COSTCO WHOLESALE CORPORATION C/O CT CORPORATION SYSTEM
     334 N SENATE AVE
     INDIANAPOLIS IN 46204-1708




    Customer Reference Number:               C2473900.14226707
    Return Reference Number                  Amanda K. Brown

2
 Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 12 of 46 PageID #: 15
USPS MAIL PIECE TRACKING NUMBER: 420462049214890194038330197700
MAILING DATE:     01/20/2021
DELIVERED DATE: 01/25/2021
CUSTOM1:


MAIL PIECE DELIVERY INFORMATION:
 COSTCO WHOLESALE CORPORATION C/O CT CORPORATION SYSTEM
 334 N SENATE AVE
 INDIANAPOLIS IN 46204-1708



MAIL PIECE TRACKING EVENTS:
 01/21/2021 10:46   PRE-SHIPMENT INFO SENT USPS AWAITS ITEM       BLOOMINGTON,IN 47404
 01/22/2021 07:45   ORIGIN ACCEPTANCE                             BLOOMINGTON,IN 47404
 01/22/2021 09:00   PROCESSED THROUGH USPS FACILITY               INDIANAPOLIS,IN 46206
 01/23/2021 04:02   PROCESSED THROUGH USPS FACILITY               INDIANAPOLIS,IN 46206
 01/23/2021 09:47   ARRIVAL AT UNIT                               INDIANAPOLIS,IN 46204
 01/23/2021 09:58   OUT FOR DELIVERY                              INDIANAPOLIS,IN 46204
 01/23/2021 10:23   BUSINESS CLOSED                               INDIANAPOLIS,IN 46204
 01/24/2021 03:58   AWAITING DELIVERY SCAN                        INDIANAPOLIS,IN 46204
 01/25/2021 10:20   DELIVERED INDIVIDUAL PICKED UP AT USPS        INDIANAPOLIS,IN 46204
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 13 of 46 PageID  #: 16
                                                                          Filed: 2/3/2021                            2:26 PM
                                                                                                                        Clerk
                                                                                                       Marion County, Indiana




  95715.40

  STATE OF INDIANA                                      MARION COUNTY SUPERIOR COURT NO.                 6


  COUNTY OF MARION                                      CAUSE NO.      49D06-2 1 0 1 -CT-002028

  AMANDA BROWN,
             Plaintiff,


  V.



  COSTCO WHOLESALE CORPORATION,

             Defendant.


               E-FILING APPEARANCE             BY ATTORNEY UNDER TRIAL RULE 3.1



  1.
             Party Classiﬁcation:    Initiating:_ Responding:

             The undersigned attorney appears
                                                                       _       Intervening:


                                                    in this case for the following party   member:

                                       Costco Wholesale Corporation

  2.         Attorney information for service as required by Trial Rule 5(B)(2):


             Leslie B. Pollie                                               25716-49
             KOPKA PINKUS DOLIN PC                            Telephone:    (3 17) 818-1360
             550 Congressional Boulevard                      Facsimile:    (3 17) 818-1390
             Suite 3 10                                                     lbpollie@kopkalaw.com
             Carmel, IN 46032


             Jessica N. Hamilton                                            34268-7 1
             KOPKA PINKUS DOLIN PC                            Telephone:    (317) 818-1360
             550 Congressional Boulevard                      Facsimile:    (317) 818-1390
             Suite 3 10                                                     inhamilton@k0pkalaw.com
             Carmel, IN 46032


  IMPORTANT:              Each attorney speciﬁed on    this   Appearance:


             (a)     certiﬁed that the contact information listed for him/her 0n the Indiana Supreme
                     Court R011 of Attorneys   is   current and accurate as 0f the date 0f this Appearance;


             (b)     acknowledges that all orders, opinions, and notices from the court in this matter
                     that are servedunder Trial Rule 86(G) will be sent t0 the attorney at the email
                     addresses speciﬁed by the attorney 0n the R011 of Attorneys regardless of the
                     contact information listed above for the attorney; and
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 14 of 46 PageID #: 17




        (c)       understands that he/she      is   solely responsible for keeping his/her R011 0f Attorneys
                  contact information current and accurate, see Ind. Admis. Disc. R. 2(A).


        Case Type requested under Administrative Rule                8(b)(3):   CT

        I   will accept service   by fax   at the   above noted number:     N0

        I   will accept service   by email   at the     above noted address: Yes

        This case involves child support issues:            N0

        This case involves a protection from abuse order, a workplace Violence restraining order,
        or a no-contact order:      N0

        This case involves a petition for involuntary commitment:                N0

        Are there   related cases:   N0

        Additional information required by local rule:             N0

  10.   Are there other party members:             N0

  11.   This form has been served 0n         all    other parties and a Certiﬁcate of Service   is   attached.


                                                         Respectfully submitted,


                                                         KOPKA PINKUS DOLIN PC


                                                         By:
                                                               iéiie B3 Pollie, Atty No. 25716-49
                                                               Jessica N. Hamilton, Atty No. 34268-71
                                                               Attorneys for Costco Wholesale Corporation
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 15 of 46 PageID #: 18




                                      CERTIFICATE OF SERVICE

            I   hereby certify that 0n February   3,   2021,   I   electronically ﬁled the foregoing document
  using the Indiana eFiling System (IEFS).        I   further certify that   the following persons were served
  on the same date using the IEFS:

  Phillip   Olsson
  KEN NUNN LAW OFFICE
  104 South Franklin Road
  Bloomington, IN 47404
  philo@kennunn.com
  Attorney [0r Plaintifl




                                                       éslie   é. Pollie


  KOPKA PINKUS DOLIN PC
  550 Congressional Boulevard
  Suite 3 10
  Carmel, IN 46032
  (3 17) 818-1360 ofﬁce
                      |




  (317) 818-1390      |
                          fax
  lbpollie@kopkalaw.com
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 16 of 46 PageID  #: 19
                                                                          Filed: 2/3/2021                                           2:26 PM
                                                                                                                                       Clerk
                                                                                                                      Marion County, Indiana




  95715.41

  STATE OF INDIANA                                         MARION COUNTY SUPERIOR COURT NO.                             6


  COUNTY OF MARION                                          CAUSE NO.           49D06-2 1 0 1 -CT-002028

  AMANDA BROWN,
             Plaintiff,


  V.



  COSTCO WHOLESALE CORPORATION,

             Defendant.


      DEFENDANT COSTCO WHOLESALE CORPORATION’S NOTICE OF
  AUTOMATIC EXTENSION OF TIME TO RESPOND TO PLAINTIFF'S COMPLAINT

             Defendant, Costco Wholesale Corporation (“Costco”), by counsel, pursuant t0 Marion


  County Local Rule 49-TR5, notiﬁes the Court                 that     it   will utilize the automatic thirty (30)      day

  extension of time in which t0 respond t0 Plaintiffs Complaint, and in support would                           show    the


  Court as follows:


             1.      That on January 20, 2021, Plaintiffs Complaint was ﬁled with                 this Court.


             2.      That on January 25, 2021, service upon Costco Wholesale Corporation was


                     perfected by certiﬁed mail.


                     That on February      17,   2021, Defendant's response t0 Plaintiffs Complaint             is   due.


                     That undersigned counsel requires additional time in order to confer with her                   client,



                     review the claim, investigate the        facts,   and prepare an appropriate response.

                     That the     thirty (30)   day extension of time         shall   be automatic pursuant t0 Marion


                     County Local Rules.

                     That the extension 0f time       is   not for purposes of delay and Will not prejudice the


                     Plaintiff.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 17 of 46 PageID #: 20




            WHEREFORE,          Defendant, Costco Wholesale Corporation, notiﬁes the Court that              it   will


  utilize the    automatic thirty (30) day extension of time       to,   and including, March   19,   2021 in which

  to   respond to Plaintiffs Complaint.


                                                       Respectfully submitted,


                                                       KOPKA PINKUS DOLIN PC


                                                       By:
                                                                   lie    Pollie,   Atty No. 25716-49
                                                             Jessica N. Hamilton, Atty No. 34268-71
                                                             Attorneys for Costco Wholesale Corporation


                                      CERTIFICATE OF SERVICE

            I   hereby certify that 0n February   3,   2021,   I   electronically ﬁled the foregoing  document
  using the Indiana eFiling System (IEFS).        I   further certify that    the following persons were served
  on the same date using the IEFS:

  Phillip   Olsson
  KEN NUNN LAW OFFICE
  104 South Franklin Road
  Bloomington, IN 47404
  philo@kennunn.com
  Attorneyfor Plaintiﬂ




                                                       éslie   é Pollie
  KOPKA PINKUS DOLIN PC
  550 Congressional Boulevard
  Suite 3 10
  Carmel, IN 46032
  (317) 818-1360 ofﬁce|




  (317) 818-1390      |
                          fax
  lbpollie@kopkalaw.com
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 18 of 46 PageID #: 21



  95715.42

  STATE OF INDIANA                                  MARION COUNTY SUPERIOR COURT NO.                       6


  COUNTY OF MARION                                  CAUSE NO.      49D06-2 1 0 1 -CT-002028

  AMANDA BROWN,
             Plaintiff,                                                 FILED
                                                                         February 3, 2021

  V.
                                                                      CLERK OF THE COURT
                                                                        MARION COUNTY
                                                                                    JW
  COSTCO WHOLESALE CORPORATION,

             Defendant.


       ORDER GRANTING COSTCO WHOLESALE CORPORATION’S AUTOMATIC
        ENLARGEMENT OF TIME TO RESPOND TO PLAINTIFF'S COMPLAINT
             Defendant, Costco Wholesale Corporation, by counsel, having ﬁled a Notice for Automatic


  Extension 0f Time t0 Respond t0 Plaintiffs Complaint, and the Court, having reviewed the notice


  and being duly advised      in the premises,   now ﬁnds   that   Defendant   is   entitled to   an automatic


  enlargement of time pursuant t0 Marion County Local Rule          LR49-TR5 -203(D).

             IT IS   THEREFORE ORDERED, ADJUDGED, AND DECREED                                that Defendant,


  Costco Wholesale Corporation shall have up t0 and including         March    19,   2021 by which     t0 ﬁle a


  response to Plaintiffs Complaint.

                                 February 3, 2021
             SO ORDERED




                                                    Judge, Marion County Superior
                                                                            JW    Court N0. 6


  Distribution to parties Via   IEFS
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 19 of 46 PageID #: 22



  95715.42

  STATE OF INDIANA                                  MARION COUNTY SUPERIOR COURT NO.                       6


  COUNTY OF MARION                                  CAUSE NO.      49D06-2 1 0 1 -CT-002028

  AMANDA BROWN,
             Plaintiff,                                                 FILED
                                                                         February 3, 2021

  V.
                                                                      CLERK OF THE COURT
                                                                        MARION COUNTY
                                                                                    JW
  COSTCO WHOLESALE CORPORATION,

             Defendant.


       ORDER GRANTING COSTCO WHOLESALE CORPORATION’S AUTOMATIC
        ENLARGEMENT OF TIME TO RESPOND TO PLAINTIFF'S COMPLAINT
             Defendant, Costco Wholesale Corporation, by counsel, having ﬁled a Notice for Automatic


  Extension 0f Time t0 Respond t0 Plaintiffs Complaint, and the Court, having reviewed the notice


  and being duly advised      in the premises,   now ﬁnds   that   Defendant   is   entitled to   an automatic


  enlargement of time pursuant t0 Marion County Local Rule          LR49-TR5 -203(D).

             IT IS   THEREFORE ORDERED, ADJUDGED, AND DECREED                                that Defendant,


  Costco Wholesale Corporation shall have up t0 and including         March    19,   2021 by which     t0 ﬁle a


  response to Plaintiffs Complaint.

                                 February 3, 2021
             SO ORDERED




                                                    Judge, Marion County Superior
                                                                            JW    Court N0. 6


  Distribution to parties Via   IEFS
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 20 of 46 PageID   #: 23
                                                                        Filed: 3/19/2021                                         10:39 AM
                                                                                                                                     Clerk
                                                                                                                    Marion County, Indiana




  95715.45

  STATE OF INDIANA                                          MARION COUNTY SUPERIOR COURT NO.                          6


  COUNTY OF MARION                                          CAUSE NO.        49D06-2 1 0 1 -CT-002028

  AMANDA BROWN,
             Plaintiff,


  V.



  COSTCO WHOLESALE CORPORATION,

             Defendant.


                    DEFENDANT COSTCO WHOLESALE CORPORATION’S
                  ANSWER TO PLAINTIFF'S COMPLAINT. AFFIRMATIVE AND
                     OTHER DEFENSES, AND REQUEST FOR JURY TRIAL
             Defendant, Costco Wholesale Corporation (“Costco”), by counsel, answers Plaintiffs


  Complaint as follows:

             1.      That 0n 0r about September       6,    2020, the   plaintiff,   Amanda Brown, was         a customer


  at   Costco located     at   9010 Michigan Road    in Indianapolis,     Marion County, Indiana.

             ANSWER:           Defendant admits the allegations contained in Paragraph                   1 0f Plaintiff’s


  Complaint.




             2.      That 0n 0r about September         6,   2020, the    plaintiff,   while exercising due care and


  caution for her     own      safety,   was checking out    at said store   when      suddenly, without warning, the


  plastic partition constructed           around the cashier collapsed onto          plaintiff,   causing her to suffer


  serious injuries.


             ANSWER:           Defendant is without sufﬁcient knowledge 0r information                  to   form a belief

  as t0 the truth 0f the allegations contained in                 Paragraph 2 0f          Plaintiff’s   Complaint and

  therefore denies the same.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 21 of 46 PageID #: 24




          3.          That   it    was   the duty 0f the defendant t0 use ordinary care and diligence t0 keep and


  maintain the said store in a condition reasonably safe for             its   intended uses and free from     all   defects


  and conditions which would render the                    store dangerous   and unsafe for    plaintiff, or   present an


  unreasonable risk 0f harm t0 plaintiff in her lawful use 0f same.


          ANSWER:             Defendant        will rely   upon the Court      t0 establish the duties 0f the parties


  t0 this action.           T0 the       extent this allegation requires a response, Defendant denies the


  characterization “duty 0f the defendant t0 use ordinary care and diligence.”




          4.          That   it    was   the duty of the defendant t0 exercise reasonable care t0 protect plaintiff,


  by inspection and other afﬁrmative                  acts,   from the danger 0f reasonably foreseeable injury

  occurring from reasonably foreseeable use 0f said store.


          ANSWER:             Defendant        will rely   upon the Court      t0 establish the duties 0f the parties


  t0 this action.           T0     the extent this allegation requires a response, Defendant denies the


  characterization 0f Defendant’s legal duties in Paragraph 4 of Plaintiff’s Complaint.




          5.          That    it   was    the duty of the defendant to have available sufﬁcient personnel and


  equipment     t0 properly inspect          and maintain the aforesaid      store in a condition reasonably safe for


  plaintiff   and   free   from defects and conditions rendering the           store unsafe.


          ANSWER:             Defendant        will rely   upon the Court      t0 establish the duties 0f the parties


  t0 this action.           T0     the extent this allegation requires a response, Defendant denies the


  characterization 0f Defendant’s legal duties in Paragraph 5 0f Plaintiff’s Complaint.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 22 of 46 PageID #: 25




          6.         That   it   was   the duty 0f the defendant t0     warn       plaintiff   0f the dangerous and unsafe


  condition existing in said store.


          ANSWER:           Defendant       will rely   upon the Court            t0 establish the duties 0f the parties


  t0 this action      T0 the       extent this allegation requires a response, Defendant denies the


  characterization 0f Defendant’s legal duties in Paragraph 6 0f Plaintiff’s Complaint.




          7.         That the defendant knew 0r should have known of the unreasonable risk 0f danger


  t0 the plaintiff but failed either to discover        it   or t0 correct   it   after discovery.


          ANSWER:           Defendant denies the allegations contained                    in   Paragraph 7 of Plaintiff’s

  Complaint.




          8.         That the permanent injuries 0f plaintiff were caused by the negligence of the


  defendant    who   failed to utilize reasonable care in the inspection               and maintenance 0f said    store.



          ANSWER:           Defendant denies the allegations contained                    in   Paragraph 8 of Plaintiff’s

  Complaint.




          9.         That the aforesaid acts of negligence 0n the part 0f the defendant were the


  proximate cause 0f the injuries sustained by the              plaintiff.



          ANSWER:           Defendant denies the allegations contained                    in   Paragraph 9 0f Plaintiff’s

  Complaint.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 23 of 46 PageID #: 26




            10.     That the plaintiff has incurred medical expenses,           10st   wages, and other special


  expenses, and will incur future medical expenses, 10st wages, and other special expenses, as a


  direct   and proximate   result of defendant's negligence.


            ANSWER:       Defendant denies the allegations contained           in   Paragraph 10 of Plaintiff’s

  Complaint.




            WHEREFORE, Defendant, Costco Wholesale Corporation, by counsel, requests Plaintiff

  takes nothing    by way of her Complaint,      that costs   be awarded to Defendant, and the Court order


  all   other proper relief.


                                        AFFIRMATIVE DEFENSES

            In further defense against Plaintiffs Complaint, Defendant, Costco Wholesale Corporation,


  by counsel,     alleges the following afﬁrmative      and other defenses. Defendant reserves the right t0


  amend, supplement, and/or withdraw these defenses as discovery continues as well as further plead

  defenses upon completion of discovery.


            1.      That any allegations or rhetorical paragraphs contained in the Complaint Which are


  not speciﬁcally admitted, denied, or responded         to, are   hereby denied.


            2.      That Defendant reserves any and        all rights   Defendant   may have   t0 raise additional


  defenses, afﬁrmative 0r otherwise, that      may     develop during the course 0f discovery in      this action.



            3.      That Plaintiff   fails t0 state   a claim against Defendant upon Which relief can be


  granted.


            4.      That Plaintiff may have been guilty of fault that contributed t0 the incident alleged


  in the   Complaint and therefore     Plaintiff’s alleged   damages     are barred or diminished according t0


  the apportion of fault as provided     by Indiana law.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 24 of 46 PageID #: 27




            5.    That Defendant is entitled to a set-off of the amount of collateral source payments

  received by Plaintiff, whether received from Defendant or another party, as against any judgment

  entered in favor of Plaintiff resulting from the incident sued upon.

            6.    The injuries and damages allegedly sustained by Plaintiff were the sole and

  proximate result of the negligence and carelessness of Plaintiff, over which Defendant had no

  control or right to control.

            7.    Plaintiff failed to provide Defendant the opportunity to reduce or to mitigate

  damages, and failed to reduce or mitigate her own damages, such that her claims are inequitable

  and barred or reduced thereby.

            8.    Plaintiff’s claims and injuries were caused by an open and obvious danger.

  Defendant had no duty toward Plaintiff, including any duty to warn with respect to such an obvious

  danger.

            9.    The injuries and damages for which Plaintiff complains were the proximate result

  of the risk knowingly and voluntarily incurred and/or assumed by Plaintiff.

            10.   The liability of all parties, defendants, and non-parties, if any, should be

  apportioned according to their respective degrees of fault pursuant to I.C. 34-20-7-1 and/or 34-20-

  8-1, and the liability of Defendant, if any, should be reduced accordingly.

            11.   Plaintiff’s alleged contentions against Defendant are completely without merit

  and/or fraudulent or frivolous, and Defendant should be entitled to reasonable attorney fees and

  costs for defending this action.

            12.   The actions or inactions that allegedly caused injury to the Plaintiff were not

  foreseeable to Defendant.




                                                   5
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 25 of 46 PageID #: 28




            WHEREFORE, Defendant, Costco Wholesale Corporation, by counsel, requests Plaintiff

  takes nothing


  all
                     by way of her Complaint,

        other proper relief.


                                                 w   that costs




            Defendant, Costco Wholesale Corporation, by counsel,
                                                                       be awarded to Defendant, and the Court order




                                                         Respectfully submitted,
                                                                                    demand this cause be   tried   by a jury.




                                                         KOPKA PINKUS DOLIN PC


                                                         By:
                                                                  éiie   Bi Pollie, Atty No. 25716-49
                                                                  Jessica N. Hamilton, Atty No. 34268-71
                                                                  Attorneys for Costco Wholesale Corporation


                                       CERTIFICATE OF SERVICE

            I   hereby certify that on March   19,   2021,   I   electronically ﬁled the foregoing   document using
  the Indiana eFilingSystem (IEFS).       I    further certify that         the following persons were served on the
  same date using the IEFS:

  Phillip   Olsson
  KEN NUNN LAW OFFICE


  MW
  104 South Franklin Road
  Bloomington, IN 47404


  Attorneyfor Plaintiﬂ




  KOPKA PINKUS DOLIN PC
                                                                 lie   B   Pollie
                                                                                    W
  550 Congressional Boulevard
  Suite 3 10
  Carmel, IN 46032
  (3 17) 818-1360 ofﬁce|




  (317) 818-1390       |
                           fax
  lbpollie@kopkalaw.com
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 26 of 46 PageID  #:6/30/2021
                                                                         Filed: 29                                          4:59 PM
                                                                                                                               Clerk
                                                                                                              Marion County, Indiana




  STATE OF INDIANA                                    MARION COUNTY SUPERIOR COURT NO.                          6


  COUNTY OF MARION                                    CAUSE NO.         49D06-2101-CT-002028

  AMANDA BROWN,
        Plaintiff,


  V.



  COSTCO WHOLESALE CORPORATION,

        Defendant.


             PLAINTIFF’S PRELIMINARY LIST OF WITNESSES                             AND EXHIBITS

  WITNESSES:

  1.    Plaintiff,   Amanda Brown

  2.    Defendant, Costco Wholesale Corporation


  3.    Eyewitness, Natia Layson, 3 17—652—6666


  4.    Eyewitness, William Bryant, 3 17—538—3220


  5.    A11 treating physicians, Ascension St. Vincent— Carmel, 13500              N Meridian St, Carmel, IN
        46032

  6.    A11 doctors that plaintiff has seen for injuries.


  7.    Various lay Witnesses, t0 be       named later,   will testify t0 the plaintiff‘s physical abilities before
        and/or after the incident.


  8.    A11 Witnesses listed     by defendant.

  9.    Additional Witnesses      may be listed by plaintiffs    after discovery has   been completed and prior
        t0   any deadlines set   by   the Court.


  10.   Plaintiff reserves the right t0 call rebuttal Witnesses.


  EXHIBITS:

  1.    Diagram 0f scene 0f incident.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 27 of 46 PageID #: 30




        Medical records.


        Medical   bills.



        X-rays 0r other results 0f diagnostic       tests.



        Medical encyclopedia and/or dictionary.


        Physician’ s   Desk Reference.

        DSM-S,    AMA Guides t0 the Evaluation 0f Permanent Impairment, Sixth Edition, 0r other
        learned treatises.


        Photographs 0r other depictions.


        Lost wage documentation.


  10.   Video   relating to this cause.


  11.   Life expectancy tables.


  12.   Video depictions/animations/stills 0f medical treatments and/or surgery performed 0r t0 be
        performed including but not limited t0 anatomical depictions 0f the human body and/or
        instrumentalities used or t0 be used in such treatments.


  13.   Animation depicting       how the incident occurred 0r an expert's      opinion 0n   how the incident
        occurred 0r might have occurred 0r similarly including but not limited t0 instrumentalities
        and persons and locations involved in the            incident.


  14.   Demonstrative aids and/or exemplars, including but not limited t0 photographs, website
        materials,   Facebook 0r other    media items, Google Earth maps and street Views 0r other
                                           social
        computer assisted GPS location programs depicting locations, Google search results,
        Amazon items for general sale, anatomical illustrations, PowerPoint slides, YouTube Videos
        0f mechanism 0f injury and/or medical treatments and surgeries for conditions, animations,
        websites, search engine results, musical overlays, reproductions 0r other representative
        illustrations,     diagrams, drawings 0r depictions 0f scenes, people 0r things involved in this
        incident and any combination 0r modiﬁcation 0f the above.


  15.   A11 exhibits listed   by defendant

  16.   Additional exhibits     may be listed by plaintiffs upon completion 0f discovery and prior t0 any
        deadlines set by the Court


  17.   Any and all documents       0r other materials utilized      by any expert retained by defendant and/or
        plaintiff t0 testify in this   cause 0f action.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 28 of 46 PageID #: 31




                                                        3


  18.       Any and all documents   attached and/or referenced in defendant's discovery responses.




                                             Respectfully submitted,
                                             KEN NUNN LAW OFFICE


                                    By:             /s/Phillip   Olsson
                                             Phillip Olsson,   # 29416—53
                                             Attorney for   Plaintiff,   Amanda Brown
  Phillip   Olsson
  Ken Nunn Law Ofﬁce
  Franklin Place
  104   S. Franklin   Road
  Bloomington, IN 47404
  Telephone    (8 12)   332—9451
  Attorney for   Plaintiff,   Amanda Brown
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 29 of 46 PageID #: 32




                                                        4
                                         CERTIFICATE OF SERVICE


            Ihereby             0n the 30th day 0f June, 2021 a copy 0f this document was filed
                        certify that
  electronically. Service 0f this filing will be made 0n all registered counsel by operation 0f the
  Court’s electronic filing system 0r by mail should counsel not be registered.


  Leslie B. Pollie
  Jessica N. Hamilton
  Kopka Pinkus Dolin PC
  550 Congressional Blvd, Suite 310
  Carmel, IN 46032
                                             Respectfully submitted,
                                             KEN NUNN LAW OFFICE


                                       By:          /s/Phillip   Olsson
                                             Phillip Olsson,   # 29416—53
                                             Attorney for   Plaintiff,   Amanda Brown
  Phillip   Olsson
  Ken Nunn Law Ofﬁce
  Franklin Place
  104   S. Franklin   Road
  Bloomington, IN 47404
  Telephone    (8 12)   332—9451
  Attorney for   Plaintiff,   Amanda Brown
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 30 of 46 PageID #:F33I                                                                   LED
                                                                                                                                               July 12, 2021
                                                                                                                                          CLERK OF THE COURT
                                                                                                                                            MARION COUNTY
                                                                                                                                                        DS

  STATE OF INDIANA                                  )                     IN    THE MARION SUPERIOR COURT
         6                                          )   SS:
  COUNTY OF MARION                                  )                     CAUSE NO. 49D06—2101—CT-002028

  AMANDA BROWN
         VS.

  COSTCO WHOLESALE CORPORATION

                                               CASE MANAGEMENT PLAN

         Comes now          Plaintiff,   by counsel, and comes now Defendant, by counsel and pursuant                            t0   Local


  Rule 16.1(B) submit the following Case Management Plan.

         The      parties   have conferred and agree         t0 the establishment of the following deadlines:


  1.     Preliminary Witness and Exhibit Lists shall be exchanged n0 later than sixty (60) days following


         approval 0f this Case           Management      Plan.


  2.     Final Witness and Exhibit Lists are due sixty (60) days prior t0                        trial.



  3.     Any      medical examinations requested by the Defendant pursuant t0 Trial Rule 35 shall be


         performed n0         later   than ninety (90) days prior t0      trial   and the expert’s report          shall   be supplied    t0


         all parties    n0    later   than sixty (60) days before     trial.



  4.     Plaintiff shall disclose         any experts Witnesses no       later    than one hundred and            fifty   (150) days prior


         t0 trial.   Defendants shall disclose any expert Witnesses n0                   later   than one hundred and twenty


         (120) days prior t0          trial.



  5.     Discovery      shall    be completed no    later     than thirty (30) days prior t0          trial.



  6.     Any pre-trial        motions, including motions in limine, and/or pre—trial briefs, shall be filed n0 later


         than seven (7) days prior to the final pre-trial conference.


  7.     Parties agree that mediation shall             be completed n0        later   than one hundred        fifty   (150) days prior t0


         trial.



  8.     Motions for Summary Judgment 0r other dispositive motions                           shall   be   filed   no   later   than one


         hundred      fifty   (150) days prior to   trial.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 31 of 46 PageID #: 34




  9.         Parties anticipate that the parties Will be ready for trial        0n or   after   September     1,   2022.


  10.        Parties anticipate three days for   trial.



  11.        In the event 0f a continuance 0f a    trial date,       the above cutoff dates shall r011 over t0        conform   to


             the   new   trial date.



  12.        Final pre-trial conference shall be set for


             at            a.m./p.m. and Jury Trial   is set   for


                                                               Respectfully submitted,
                                                               KEN NUNN LAW OFFICE

       Set telephonic hearing to be          initiated
                                                               BY‘        ’S’Phim“ 01380“
       by   Plaintiff    on the following date:
                                                                          Phillip Olsson,   #29416-53
            Thursday, September 16, 2021                                  ATTORNEY FOR PLAINTIFF
            at 11:30 am
                                                               KOPKA PINKUS DOLIN PC

                                                               BY:        /s/Les1ie B. Pollie
                                                                          Leslie B. Pollie,     #257 1 6-49
                                                                          Jessica Hamilton, #34268-71
                                                                          ATTORNEY FOR DEFENDANT

                                                                               June         28, 2021
             This Case      Management Plan is hereby approved               this                     ,
                                                                                                          2021.




                                                               Judge, Marion Superior Court 6




  DISTRIBUTE TO:
  A11 counsel of record
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 32 of 46 PageID
                                                                        Filed:#:  35 11:10 AM
                                                                               8/10/2021
                                                                                                                  Clerk
                                                                                                 Marion County, Indiana




  95715/232
  STATE OF INDIANA                               MARION COUNTY SUPERIOR COURT NO. 6

  COUNTY OF MARION                               CAUSE NO. 49D06-2101-CT-002028

  AMANDA BROWN,

         Plaintiff,

  v.

  COSTCO WHOLESALE CORPORATION,

         Defendant.

                 MOTION FOR ENTRY OF AGREED PROTECTIVE ORDER

         COMES NOW Defendant, Costco Wholesale Corporation, by counsel, and moves the

  court to approve the Agreed Protective Order filed contemporaneously herewith. In support of

  such Motion, Defendant states as follows:

         1.      During the course of discovery, Plaintiffs have requested a copies of the incident

                 report, photographs and security footage of the incident.

         2.      Also during the course of discovery, Defendant has requested Plaintiff’s medical

                 records, billing records, employment records, and insurance-related records.

         3.      Thus, in the course of discovery in this action, the parties may be required to

                 produce information that constitutes, in whole or in part, protected information such

                 as trade secrets, proprietary information, confidential commercial information,

                 financial and/or personal information, and/or other confidential information, or

                 other information that may cause harm to the producing party or a non-party. The

                 parties anticipate production of the following categories of protected information:

                 incident report, photographs and security footage of the incident, Plaintiff’s medical

                 records, billing records, employment records, and insurance-related records. The
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 33 of 46 PageID #: 36




                executed Stipulated Protective Order, is attached to this Motion as Exhibit 1.

         4.     The entry of the proposed Protective Order is necessary to protect the Parties’ and

                third parties’ legitimate privacy interests.

         5.     The entry of the Protective Order will facilitate written discovery.

         6.     The parties have agreed to the entry of the proposed Protective Order, and all

                counsel have executed a stipulation contained in that order, to be bound by same.

  Dated this 10th day of August 2021.

                                                Respectfully submitted,


                                                KOPKA PINKUS DOLIN PC


                                                By:_______________________________________
                                                    Leslie B. Pollie, Atty No. 25716-49
                                                    Jessica N. Hamilton, Atty No. 34268-71
                                                    Attorneys for Costco Wholesale Corporation
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 34 of 46 PageID #: 37




                                 CERTIFICATE OF SERVICE

          I hereby certify that on August 10, 2021, I electronically filed the foregoing document
  using the Indiana eFiling System (IEFS). I further certify that the following persons were served
  on the same date using the IEFS:

  Phillip Olsson
  KEN NUNN LAW OFFICE
  104 South Franklin Road
  Bloomington, IN 47404
  philo@kennunn.com
  Attorney for Plaintiff


                                              __________________________________________
                                              Leslie B. Pollie

  KOPKA PINKUS DOLIN PC
  550 Congressional Boulevard
  Suite 310
  Carmel, IN 46032
  (317) 818-1360 | office
  (317) 818-1390 | fax
  lbpollie@kopkalaw.com
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 35 of 46 PageID #: 38



  95715/132
  STATE OF INDIANA                                MARION COUNTY SUPERIOR COURT NO. 6

  COUNTY OF MARION                                CAUSE NO. 49D06-2101-CT-002028

  AMANDA BROWN,

         Plaintiff,

  v.

  COSTCO WHOLESALE CORPORATION,

         Defendant.

                          STIPULATION AND PROTECTIVE ORDER

         Plaintiff Amanda Brown, by and through her counsel, Phillip Olsson, and Defendant,

  Costco Wholesale Corporation, by and through its counsel, Leslie B. Pollie and Jessica N.

  Hamilton, hereby enter into the following Stipulation for Protective Order:

                 1.      The parties hereto have been and may be requested to produce or disclose

         through discovery certain materials and information which they maintain is, or contains,

         trade secret, proprietary information, confidential commercial information, financial

         and/or personal information, and/or other confidential information (collectively,

         “Confidential Information”). The parties hereto are being permitted to inspect and obtain

         Confidential Information for use in the course of this litigation only.

                 2.      All written materials produced or disclosed by any party during pretrial

         discovery in this action that are designated as “SUBJECT TO PROTECTIVE ORDER” or

         “CONFIDENTIAL” shall be revealed only as provided herein.

                 3.      A party’s attorney may distribute or share Confidential Information

         protected by this Stipulation and Protective Order with counsel of record for the parties in

         this litigation, and their legal, paralegal, and clerical staff for the sole purpose of assisting



                                                                                  Exhibit 1
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 36 of 46 PageID #: 39




        in the prosecution or defense of this action, and with the Court and its staff under such

        safeguards as the Court may direct so as to preserve and protect the confidentiality of any

        Confidential Information subject to this Order, and with stenographers and/or

        videographers retained for purposes of deposition in this matter.

               4.      A party’s attorney may distribute or share Confidential Information

        protected by this Stipulation and Protective Order with the following categories of persons

        only after the attorney has received a signed Nondisclosure Agreement in the form of

        “Exhibit A” (attached) from the person receiving the distribution or information, and such

        Confidential Information shall be disclosed and used solely to assist in the prosecution or

        defense of this action and not for any other purpose.

               a.      The parties in this case;

               b.      Persons retained to assist counsel of record for a party in this litigation,
                       including experts, consultants, litigation support services, and outside
                       copying services.

               5.      Any production by any party of a document containing Confidential

        Information without such document being marked “CONFIDENTIAL” or “SUBJECT TO

        PROTECTIVE ORDER” shall not constitute a waiver of confidentiality, upon timely

        notice to the parties. Upon receiving notice from a producing party that Confidential

        Information was not previously appropriately marked, all such material shall be marked as

        “CONFIDENTIAL” or “SUBJECT TO PROTECTIVE ORDER” and treated in

        accordance with the terms of this Stipulation and Protective Order. Any party receiving

        such notice shall further make a reasonable, good-faith effort to ensure that any analyses,

        memoranda, or notes that were generated based upon such material shall immediately be

        treated in conformity with the terms of this Stipulation and Protective Order, and shall

        make reasonable efforts to retrieve documents distributed to persons not entitled to receive
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 37 of 46 PageID #: 40




        Confidential Information under the terms of this Stipulation and Protective Order.

               6.      Any party may contest the confidential status of any information designated

        as Confidential Information. If a party disagrees with any designation of any information,

        it shall notify counsel for the other party and the Designating Party and they shall attempt

        to resolve the dispute by agreement. If the dispute is not so resolved, the information shall

        continue to be kept confidential unless and until the Court rules otherwise in accordance

        with the Indiana Trial Rules. At any hearing to determine the confidential status of any

        information, the party designating the information as confidential shall have the burden of

        showing why such information should be confidential.

               7.      The consent of the parties to the terms of this Protective Order shall not be

        deemed an admission or acknowledgment with respect to the relevance, competence, or

        admissibility in evidence of any Confidential Information as to any issue in this action.

               8.      Production of documents or information by any party at trial shall not

        constitute a waiver of the provisions of the Stipulation and Protective Order.

               9.      To the extent that any motion, pleading, answers to interrogatories,

        transcripts of depositions, responses to requests for admissions, or any other papers filed

        or to be filed with the Court reveal or tend to reveal Confidential Information protected by

        this Stipulation and Protective Order, these papers or any portion thereof must be filed

        under seal by the filing party with the Clerk of Court in and envelope marked “SEALED.”

               10.     Nothing herein shall be construed to preclude any party or non-party from

        seeking further protections from the Court against public disclosure of Confidential

        Information, or to restrain the Court’s authority to issue lawful order governing the use of

        Confidential Information at trial or hearing.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 38 of 46 PageID #: 41




                   11.   Upon final termination of this action, including all appeals therefrom, all

         documents and electronically stored information subject to this Stipulation and Protective

         Order shall be returned to the producing party, or in the alternative shall be destroyed.

         Counsel shall, upon request, certify compliance with this requirement.

                   12.   The parties to this agreement consent to the jurisdiction of this Court over

         the parties hereto indefinitely respecting any dispute between them concerning improper

         use of information disclosed under protection of this Order.

  AGREED:
                                               KEN NUNN LAW OFFICE

  Dated: 8/10/21                By:_____ Phillip Olsson________________
                                                 Phillip Olsson, (#29416-53)


                                               KOPKA PINKUS DOLIN PC

  Dated: 8/10/21                By:____ Leslie B. Pollie _________________
                                                  Leslie B. Pollie (#25716-49)
                                                  Jessica N. Hamilton, (#34268-71)
  SO ORDERED:

         Dated this       day of                       , 2021.

                                                       BY THE COURT:


                                                       Judge, Marion Superior Court 6
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 39 of 46 PageID #: 42




                                               Exhibit A

                                NON-DISCLOSURE AGREEMENT

         I hereby acknowledge that I have received and read the terms and conditions of the

  Stipulation between the parties and Protective Order entered by the Court in the litigation

  captioned Amanda Brown v. Costco Wholesale Corporation, Marion Superior Court 6 Court, Case

  Number 49D06-2101-CT-002028, on _____________________________________________,

  2021. I understand the terms thereof and consent to be bound by such terms.

         Further, by executing this Non-Disclosure Agreement, I hereby consent to the jurisdiction

  of the Superior Court No. 6 in Marion County, Indiana for the limited purpose of enforcing the

  terms of the Protective Order.

         I understand that I may come into contact with information and/or documents which

  constitute trade secrets, proprietary information, confidential commercial information, financial

  and/or personal information, and/or other Confidential Information.

         I agree to maintain the confidentiality of all such information and documents that are

  designated “SUBJECT TO PROTECTIVE ORDER” or “CONFIDENTIAL.” In furtherance of

  this agreement, I agree to not share or discuss, disclose, describe, or distribute any such designated

  information and/or documents I receive with (or to) anyone else. Further, I agree to return all such

  designated documents to the party that tendered such designated documents to me at the end of

  this litigation including all appeals therefrom, or to destroy such designated documents without

  retaining any copy or copies for myself or any other person or entity.

         I recognize that a breach of this Non-Disclosure Agreement may be punishable as a

  contempt of court. All civil remedies for breach of this Non-Disclosure Agreement are specifically

  reserved and are not waived by the disclosure provided for herein.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 40 of 46 PageID #: 43




         Further, in the event of breach of this agreement, I recognize that the producing party or

  parties may pursue all civil remedies available to them, as beneficiaries of this agreement.

         Dated:                                 , 2021.




  SUBSCRIBED and SWORN to before me
  this      day of             , 2021



  Notary Public
  My commission:
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 41 of 46 PageID #: 44



  95715/132
  STATE OF INDIANA                                MARION COUNTY SUPERIOR COURT NO. 6

  COUNTY OF MARION                                CAUSE NO. 49D06-2101-CT-002028

  AMANDA BROWN,

         Plaintiff,
                                                                     FILED
                                                                      August 10, 2021
  v.                                                               CLERK OF THE COURT
                                                                     MARION COUNTY
                                                                                 JW
  COSTCO WHOLESALE CORPORATION,

         Defendant.

                          STIPULATION AND PROTECTIVE ORDER

         Plaintiff Amanda Brown, by and through her counsel, Phillip Olsson, and Defendant,

  Costco Wholesale Corporation, by and through its counsel, Leslie B. Pollie and Jessica N.

  Hamilton, hereby enter into the following Stipulation for Protective Order:

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         and/or personal information, and/or other confidential information (collectively,

         “Confidential Information”). The parties hereto are being permitted to inspect and obtain

         Confidential Information for use in the course of this litigation only.

                 2.      All written materials produced or disclosed by any party during pretrial

         discovery in this action that are designated as “SUBJECT TO PROTECTIVE ORDER” or

         “CONFIDENTIAL” shall be revealed only as provided herein.

                 3.      A party’s attorney may distribute or share Confidential Information

         protected by this Stipulation and Protective Order with counsel of record for the parties in

         this litigation, and their legal, paralegal, and clerical staff for the sole purpose of assisting
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 42 of 46 PageID #: 45




        in the prosecution or defense of this action, and with the Court and its staff under such

        safeguards as the Court may direct so as to preserve and protect the confidentiality of any

        Confidential Information subject to this Order, and with stenographers and/or

        videographers retained for purposes of deposition in this matter.

               4.      A party’s attorney may distribute or share Confidential Information

        protected by this Stipulation and Protective Order with the following categories of persons

        only after the attorney has received a signed Nondisclosure Agreement in the form of

        “Exhibit A” (attached) from the person receiving the distribution or information, and such

        Confidential Information shall be disclosed and used solely to assist in the prosecution or

        defense of this action and not for any other purpose.

               a.      The parties in this case;

               b.      Persons retained to assist counsel of record for a party in this litigation,
                       including experts, consultants, litigation support services, and outside
                       copying services.

               5.      Any production by any party of a document containing Confidential

        Information without such document being marked “CONFIDENTIAL” or “SUBJECT TO

        PROTECTIVE ORDER” shall not constitute a waiver of confidentiality, upon timely

        notice to the parties. Upon receiving notice from a producing party that Confidential

        Information was not previously appropriately marked, all such material shall be marked as

        “CONFIDENTIAL” or “SUBJECT TO PROTECTIVE ORDER” and treated in

        accordance with the terms of this Stipulation and Protective Order. Any party receiving

        such notice shall further make a reasonable, good-faith effort to ensure that any analyses,

        memoranda, or notes that were generated based upon such material shall immediately be

        treated in conformity with the terms of this Stipulation and Protective Order, and shall

        make reasonable efforts to retrieve documents distributed to persons not entitled to receive
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 43 of 46 PageID #: 46




        Confidential Information under the terms of this Stipulation and Protective Order.

               6.      Any party may contest the confidential status of any information designated

        as Confidential Information. If a party disagrees with any designation of any information,

        it shall notify counsel for the other party and the Designating Party and they shall attempt

        to resolve the dispute by agreement. If the dispute is not so resolved, the information shall

        continue to be kept confidential unless and until the Court rules otherwise in accordance

        with the Indiana Trial Rules. At any hearing to determine the confidential status of any

        information, the party designating the information as confidential shall have the burden of

        showing why such information should be confidential.

               7.      The consent of the parties to the terms of this Protective Order shall not be

        deemed an admission or acknowledgment with respect to the relevance, competence, or

        admissibility in evidence of any Confidential Information as to any issue in this action.

               8.      Production of documents or information by any party at trial shall not

        constitute a waiver of the provisions of the Stipulation and Protective Order.

               9.      To the extent that any motion, pleading, answers to interrogatories,

        transcripts of depositions, responses to requests for admissions, or any other papers filed

        or to be filed with the Court reveal or tend to reveal Confidential Information protected by

        this Stipulation and Protective Order, these papers or any portion thereof must be filed

        under seal by the filing party with the Clerk of Court in and envelope marked “SEALED.”

               10.     Nothing herein shall be construed to preclude any party or non-party from

        seeking further protections from the Court against public disclosure of Confidential

        Information, or to restrain the Court’s authority to issue lawful order governing the use of

        Confidential Information at trial or hearing.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 44 of 46 PageID #: 47




                   11.   Upon final termination of this action, including all appeals therefrom, all

         documents and electronically stored information subject to this Stipulation and Protective

         Order shall be returned to the producing party, or in the alternative shall be destroyed.

         Counsel shall, upon request, certify compliance with this requirement.

                   12.   The parties to this agreement consent to the jurisdiction of this Court over

         the parties hereto indefinitely respecting any dispute between them concerning improper

         use of information disclosed under protection of this Order.

  AGREED:
                                               KEN NUNN LAW OFFICE

  Dated: 8/10/21                By:_____ Phillip Olsson________________
                                                 Phillip Olsson, (#29416-53)


                                               KOPKA PINKUS DOLIN PC

  Dated: 8/10/21                By:____ Leslie B. Pollie _________________
                                                  Leslie B. Pollie (#25716-49)
                                                  Jessica N. Hamilton, (#34268-71)
  SO ORDERED:

         Dated this       day of   August 10, 2021
                                                 , 2021.

                                                       BY THE COURT:


                                                       Judge, Marion Superior Court 6
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 45 of 46 PageID #: 48




                                               Exhibit A

                                NON-DISCLOSURE AGREEMENT

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  Stipulation between the parties and Protective Order entered by the Court in the litigation

  captioned Amanda Brown v. Costco Wholesale Corporation, Marion Superior Court 6 Court, Case

  Number 49D06-2101-CT-002028, on _____________________________________________,

  2021. I understand the terms thereof and consent to be bound by such terms.

         Further, by executing this Non-Disclosure Agreement, I hereby consent to the jurisdiction

  of the Superior Court No. 6 in Marion County, Indiana for the limited purpose of enforcing the

  terms of the Protective Order.

         I understand that I may come into contact with information and/or documents which

  constitute trade secrets, proprietary information, confidential commercial information, financial

  and/or personal information, and/or other Confidential Information.

         I agree to maintain the confidentiality of all such information and documents that are

  designated “SUBJECT TO PROTECTIVE ORDER” or “CONFIDENTIAL.” In furtherance of

  this agreement, I agree to not share or discuss, disclose, describe, or distribute any such designated

  information and/or documents I receive with (or to) anyone else. Further, I agree to return all such

  designated documents to the party that tendered such designated documents to me at the end of

  this litigation including all appeals therefrom, or to destroy such designated documents without

  retaining any copy or copies for myself or any other person or entity.

         I recognize that a breach of this Non-Disclosure Agreement may be punishable as a

  contempt of court. All civil remedies for breach of this Non-Disclosure Agreement are specifically

  reserved and are not waived by the disclosure provided for herein.
Case 1:21-cv-02668-SEB-MJD Document 1-1 Filed 10/18/21 Page 46 of 46 PageID #: 49




         Further, in the event of breach of this agreement, I recognize that the producing party or

  parties may pursue all civil remedies available to them, as beneficiaries of this agreement.

         Dated:                                 , 2021.




  SUBSCRIBED and SWORN to before me
  this      day of             , 2021



  Notary Public
  My commission:
